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                       IN THE UNITED STATES COURT OF APPEALS

                                FOR THE ELEVENTH CIRCUIT
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                                       No. 21-14269-W
                                  ________________________

STATE OF GEORGIA,
STATE OF ALABAMA,
STATE OF IDAHO,
STATE OF KANSAS,
STATE OF SOUTH CAROLINA, et al.,
                                                  Plaintiffs - Appellees,

versus

PRESIDENT OF THE UNITED STATES,
SAFER FEDERAL WORKFORCE TASK FORCE,
UNITED STATES OFFICE OF PERSONNEL MANAGEMENT,
DIRECTOR, OFFICE OF PERSONNEL MANAGEMENT AND CO-CHAIR
SAFER FEDERAL WORKFORCE TASK FORCE,
OFFICE OF MANAGEMENT AND BUDGET, et al.,

                                               Defendants - Appellants.
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                           Appeal from the United States District Court
                              for the Southern District of Georgia
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ORDER:

         On the Court’s own motion, each side will have 25 minutes for oral argument.


                                                           /s/ Britt C. Grant
                                                           UNITED STATES CIRCUIT JUDGE
